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                       Exhibit 13
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Week of Date        Tours
2/8/2016                    4
2/15/2016                   4
2/22/2016                   1
2/29/2016                   0
3/7/2016                    3
3/14/2016                   3
3/21/2016                   2
3/28/2016                   5
4/4/2016                    4
4/11/2016                   2
4/18/2016                   4
4/25/2016                   4
5/2/2016                    4
5/9/2016                    2
5/16/2016                   3
5/23/2016                   2
5/30/2016                   2
6/6/2016                    2
6/13/2016                   3
6/20/2016                   1
6/27/2016                   1
7/4/2016                    1
7/11/2016                   0
7/18/2016                   1
7/25/2016                   1
8/1/2016                    1
8/8/2016                    0
8/15/2016                   5
8/22/2016                   0
8/29/2016                   0
9/5/2016                    0
9/12/2016                   0
9/19/2016                   0
9/26/2016                   0
10/3/2016                   0
10/10/2016                  0
10/17/2016                  0
10/24/2016                  5
10/31/2016                  1
11/7/2016                   3
11/14/2016                  1
11/21/2016                  2
11/28/2016                  1
12/5/2016                   0
12/12/2016                  1
12/19/2016                  1


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Week of Date        Tours
12/26/2016                  1
1/2/2017                    2
1/9/2017                    0
1/16/2017                   1
1/23/2017                   4
1/30/2017                   4
2/6/2017                    2
2/13/2017                   1
2/20/2017                   2
2/27/2017                   2
3/6/2017                    2
3/13/2017                   2
3/20/2017                   3
3/27/2017                   1
4/3/2017                    1
4/10/2017                   2
4/17/2017                   5
4/24/2017                   4
5/1/2017                    3
5/8/2017                    0
5/15/2017                   5
5/22/2017                   1
5/29/2017                   4
6/5/2017                    1
6/12/2017                   4
6/19/2017                   5
6/26/2017                   3
7/3/2017                    1
7/10/2017                   2
7/17/2017                   4
7/24/2017                   3
7/31/2017                   4
8/7/2017                    3
8/14/2017                   5
8/21/2017                   5
8/28/2017                   0
9/4/2017                    6
9/11/2017                   2
9/18/2017                   3
9/25/2017                   3
10/2/2017                   6
10/9/2017                   3
10/16/2017                  2
10/23/2017                  1
10/30/2017                  4
11/6/2017                   3


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Week of Date        Tours
11/13/2017                  6
11/20/2017                  1
11/27/2017                  3
12/4/2017                   6
12/11/2017                  6
12/18/2017                  1
12/25/2017                  1
1/1/2018                    2
1/8/2018                    6
1/15/2018                   4
1/22/2018                   5
1/29/2018                   1
2/5/2018                    3
2/12/2018                   9
2/19/2018                   4
2/26/2018                   5
3/5/2018                    5
3/12/2018                   8
3/19/2018                   7
3/26/2018                   3
4/2/2018                    2
4/9/2018                    4
4/16/2018                   6
4/23/2018                   0
4/30/2018                   0
5/7/2018                    0
5/14/2018                   5
5/21/2018                   5
5/28/2018                   5
6/4/2018                    6
6/11/2018                   2
6/18/2018                   3
6/25/2018                   5
7/2/2018                    3
7/9/2018                    4
7/16/2018                   2
7/23/2018                   1
7/30/2018                   3
8/6/2018                    1
8/13/2018                   4
8/20/2018                   3
8/27/2018                   0
9/3/2018                    4
9/10/2018                   2
9/17/2018                   3
9/24/2018                   2


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Week of Date        Tours
10/1/2018                    2
10/8/2018                    2
10/15/2018                   1
10/22/2018                   0
10/29/2018                   3
11/5/2018                    6
11/12/2018                   2
11/19/2018                   2
11/26/2018                   2
12/3/2018                    1
12/10/2018                   3
12/17/2018                   0
12/24/2018                   7
12/31/2018                   4
1/7/2019                     4
1/14/2019                    2
1/21/2019                    7
1/28/2019                    2
2/4/2019                     6
2/11/2019                    4
2/18/2019                    4
2/25/2019                    1
3/4/2019                     5
3/11/2019                    6
3/18/2019                    1
3/25/2019                    8
4/1/2019                     9
4/8/2019                     3
4/15/2019                    5
4/22/2019                    2
4/29/2019                    1
5/6/2019                     0
5/13/2019                    0
5/20/2019                    0
5/27/2019                    0
6/3/2019                     0
6/10/2019                   11
6/17/2019                    3
6/24/2019                    4
7/1/2019                     0
7/8/2019                     6
7/15/2019                    2
7/22/2019                    7
7/29/2019                    7
8/5/2019                     6
8/12/2019                    2


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Week of Date        Tours
8/19/2019                    2
8/26/2019                    2
9/2/2019                     5
9/9/2019                     4
9/16/2019                    1
9/23/2019                    1
9/30/2019                    0
10/7/2019                    0
10/14/2019                   1
10/21/2019                   0
10/28/2019                   0
11/4/2019                    0
11/11/2019                   0
11/18/2019                   0
11/25/2019                   0
12/2/2019                    0
12/9/2019                    1
12/16/2019                  10
12/23/2019                   3
12/30/2019                   4
1/6/2020                     3
1/13/2020                    4
1/20/2020                    3
1/27/2020                   12
2/3/2020                     0
2/10/2020                    0
2/17/2020                    2
2/24/2020                    0
3/2/2020                     1
3/9/2020                     0
3/16/2020                    0
3/23/2020                    0
3/30/2020                   11
4/6/2020                     2
4/13/2020                    1
4/20/2020                    1
4/27/2020                    3
5/4/2020                     2
5/11/2020                    2
5/18/2020                    2
5/25/2020                    1
6/1/2020                     0
6/8/2020                     3
6/15/2020                    3
6/22/2020                    6
6/29/2020                    3


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Week of Date        Tours
7/6/2020                     4
7/13/2020                    1
7/20/2020                    4
7/27/2020                    2
8/3/2020                     4
8/10/2020                    3
8/17/2020                    3
8/24/2020                    2
8/31/2020                    1
9/7/2020                     0
9/14/2020                    8
9/21/2020                    6
9/28/2020                    3
10/5/2020                    1
10/12/2020                   2
10/19/2020                   2
10/26/2020                   5
11/2/2020                    4
11/9/2020                    6
11/16/2020                   8
11/23/2020                   4
11/30/2020                   3
12/7/2020                   12
12/14/2020                   5
12/21/2020                   1
12/28/2020                   3
1/4/2021                    13
1/11/2021                    4
1/18/2021                    8
1/25/2021                   12
2/1/2021                     1
2/8/2021                     0
2/15/2021                   15
2/22/2021                    4
3/1/2021                    11
3/8/2021                     4
3/15/2021                    7
3/22/2021                    9
3/29/2021                    9
4/5/2021                     5
4/12/2021                    4
4/19/2021                    4
4/26/2021                    5
5/3/2021                     4
5/10/2021                    2
5/17/2021                    1


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Week of Date        Tours
5/24/2021                   0
5/31/2021                   1
6/7/2021                    0
6/14/2021                   1
6/21/2021                   0
6/28/2021                   0
7/5/2021                    0
7/12/2021                   0
7/19/2021                   0
7/26/2021                   1
8/2/2021                    0
8/9/2021                    1
8/16/2021                   0
8/23/2021                   0
8/30/2021                   0
9/6/2021                    1
9/13/2021                   1
9/20/2021                   8
9/27/2021                   0
10/4/2021                   2
10/11/2021                  3
10/18/2021                  1
10/25/2021                  2
11/1/2021                   3
11/8/2021                   2
11/15/2021                  4
11/22/2021                  0
11/29/2021                  1
12/6/2021                   1
12/13/2021                  0
12/20/2021                  0
12/27/2021                  1
1/3/2022                    1
1/10/2022                   0
1/17/2022                   0
1/24/2022                   0
1/31/2022                   0
2/7/2022                    1
2/14/2022                   0
2/21/2022                   0
2/28/2022                   0
3/7/2022                    0
3/14/2022                   0
3/21/2022                   0
3/28/2022                   0
4/4/2022                    0


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Week of Date        Tours
4/11/2022                     0
4/18/2022                     0
4/25/2022                     0
5/2/2022                      0
5/9/2022                      0
5/16/2022                     0
5/23/2022                     0
5/30/2022                     0
6/6/2022                      0
6/13/2022                     0
6/20/2022                     0
6/27/2022                     0
7/4/2022                      1
7/11/2022                     1
7/18/2022                     0
7/25/2022                     1
8/1/2022                      0
8/8/2022                      0
8/15/2022                     0
8/22/2022                     0
8/29/2022                     0
9/5/2022                      0
9/12/2022                     0
9/19/2022                     1
9/26/2022                     0
10/3/2022                     0
10/10/2022                    0
10/17/2022                    0
10/24/2022                    0
10/31/2022                    1
11/7/2022                     0
11/14/2022                    0
11/21/2022                    0
11/28/2022                    0
12/5/2022                     0
12/12/2022                    2
12/19/2022                    0
12/26/2022                    0
1/2/2023                      0
1/9/2023                      1
1/16/2023                     2
1/23/2023                     0
1/30/2023                     2
Grand Total                 885




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